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8                             UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
10                                                  Case No. CV 21-08073-AB (PDx)
11      David McGlynn
12                                                  ORDER OF DISMISSAL FOR
                       Plaintiff,
13                                                  LACK OF PROSECUTION
        v.                                          WITHOUT PREJUDICE
14
        Salem Media Group, Inc.
15                                                  (PURSUANT TO LOCAL RULE 41)
                       Defendants.
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             On November 5, 2021, the Court issued an Order to Show Cause why this case
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       should not be dismissed for lack of prosecution. (Dkt. No. 13.) A written response to
22
       the Order to Show Cause was ordered to be filed no later than November 19, 2021. (Id.)
23
       No response having been filed to the Court’s Order to Show Cause,
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     Case 2:21-cv-08073-AB-PD Document 14 Filed 11/23/21 Page 2 of 2 Page ID #:44



1            IT IS ORDERED AND ADJUDGED that the above-entitled case is dismissed,
2            without prejudice, for lack of prosecution and for failure to comply with the
3      orders of the Court, pursuant to Local Rule 41.
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       Dated: November 23, 2021
5                                      _______________________________________
6                                      HONORABLE ANDRÉ BIROTTE JR.
                                       UNITED STATES DISTRICT COURT JUDGE
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